   Case 8-18-77532-las              Doc 12        Filed 12/12/18       Entered 12/12/18 11:48:58




UNITED STATES BANKRUPCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
In re:

JAMES WINTHROP                                                          Chapter 7
aka JAMES J. WINTHROP AND
JACQUELINE WINTHROP
aka JACQUELINE G. WINTHROP,                                             Case No.: 8-18-77532-las


                         Debtors.
-------------------------------------------------------------------X

                                      ORDER FOR RETENTION
                                   OF ATTORNEYS FOR TRUSTEE

       Upon the application dated November 12, 2018 of Richard L Stern, Esq., Chapter

7 trustee (“Trustee”) of the above captioned estate, seeking an order authorizing him to

employ and retain the law firm of Macco & Stern, LLP, as attorneys in the within

proceeding, under the provisions of a general retainer, and the affidavit of Michael J.

Macco, a member of the firm of Macco & Stern, LLP; and it being represented in the

papers submitted in connection with the application that the said law firm has no present

connection with any of the creditors or any other party in interest, that Mr. Macco and the

firm represent no adverse interest to the above estate in the matters upon which they

are to be engaged, that the firm is a “disinterested person” within the meaning of

Sections 101(14) and 327 of the Bankruptcy Code; and it appearing that it is necessary

for the Trustee to retain such counsel, it is

       ORDERED, that the Trustee is authorized to retain the law firm of Macco & Stern,

LLP as attorneys to represent him in the within proceeding under a general retainer

effective as of the bankruptcy filing date of November 8, 2018 and it is further

       ORDERED, that no compensation or reimbursement of expenses shall be paid

Macco & Stern, LLP for professional services rendered to the Trustee, except under a

proper application and by further order of this Court following a hearing on notice




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 pursuant to Sections 330 and 31 of the Bankruptcy Code, the Bankruptcy Rules, and the

 Local Rules, and it is further

       ORDERED, that ten business days prior to any increase in Macco & Stern, LLP’s

 rates for any individual employed by the firm and retained by the Trustee pursuant to

 court order, Macco & Stern, LLP shall file a supplemental affidavit with the Court setting

 forth the basis for the requested rate increase pursuant to 11 U.S.C. Section

 330(a)(3)(F). Parties in interest, including the United States Trustee, retain all rights to

 object to or otherwise respond to any rate increase on any and all grounds, including,

 but not limited to, the reasonableness standard under 11 U.S.C. Section 330.

 Supplemental affidavits are not required for rate increases effective on or after the date

 the Trustee submits the Trustee’s Final Report to the United States Trustee.

 Dated: Central Islip, New York

 No Objection
 Office of the U.S. Trustee


 By__/S/ Stan Y. Yang 12/12/2018___




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Dated: December 12, 2018                                             Louis A. Scarcella
       Central Islip, New York                                United States Bankruptcy Judge

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